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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                No. 4:09CR00300 SWW

LARON BROOKS aka BUBBLE EYE

                  PRELIMINARY ORDER OF FORFEITURE
                       Fed.R.Crim.P. 32.2(b)


     IT IS HEREBY ORDERED THAT:

     1.   As the result of the guilty plea to Count One of the

Indictment, and a stipulation of the defendant in which he agreed

to the forfeiture the Government sought pursuant to 18 U.S.C. §

924(d), 28 U.S.C. § 2461(c), and 21 U.S.C. § 853, defendant shall

forfeit to the United States:

     a.   All property used or intended to be used in any manner

or part to commit the commission of offenses involving 21 U.S.C.

§ 846.

     2.   The Court has determined, based on the evidence already

in the record that the following property is subject to

forfeiture pursuant to 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c),

and 21 U.S.C. § 853, and that the government has established the

requisite nexus between such property and such offenses:

1)   a Smith & Wesson .38 caliber special SPC CTG revolver,
     Serial Number C67902 and two bullets with the markings 38
     Special Federal; and

2)   1999 Ford pickup truck, VIN# 1FTZF072XXKB08637
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     4.   Upon the entry of this Order, the United States Attorney

General (or a designee) is authorized to seize the above listed

property and to conduct any discovery proper in identifying,

locating, or disposing of the property subject to forfeiture, in

accordance with Fed. R. Crim. P. 32.2(b)(3).

     5.   Upon entry of this Order, the United States Attorney

General (or a designee) is authorized to commence any applicable

proceeding to comply with statutes governing third party rights,

including giving notice of this Order.

     6.   The United States shall publish notice of the order and

its intent to dispose of the property in such a manner as the

United States Attorney General (or a designee) may direct.                 The

United States may also, to the extent practicable, provide

written notice to any person known to have an alleged interest in

the Subject Property.

     7.   Any person, other than the above named defendant,

asserting a legal interest in the Subject Property may, within

thirty days of the final publication of notice or receipt of

notice, whichever is earlier, petition the Court for a hearing

without a jury to adjudicate the validity of his alleged interest

in the Subject Property, and for an amendment of the order of

forfeiture, pursuant to 21 U.S.C. § 853(n)(2).

     8.   Pursuant to Fed. R. Crim. P. 32.2(b)(3), this

Preliminary Order of Forfeiture shall become final as to the


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defendant at the time of sentencing and shall be made part of the

sentence and included in the judgment.        If no third party files a

timely claim, this Order shall become the Final Order of

Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

     9.    Any petition filed by a third party asserting an

interest in the Subject Property shall be signed by the

petitioner under penalty of perjury and shall set forth the

nature and extent of the petitioner’s right, title, or interest

in the Subject Property, the time and circumstances of the

petitioner’s acquisition of the right, title, or interest in the

Subject Property, any additional facts supporting the

petitioner’s claim and the relief sought.

     10.     After the disposition of any motion filed under Fed. R.

Crim. P. 32.2(c)(1)(A) and before a hearing on the petition,

discovery may be conducted in accordance with the Federal Rules

of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

     11.     The United States shall have clear title to the Subject

Property following the Court’s disposition of all third-party

interests, or, if none, following the expiration of the period

provided in 21 U.S.C. § 853(n)(2) for the filing of third party

petitions.




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     12.   The Court shall retain jurisdiction to enforce this

Order, and to amend it as necessary, pursuant to Fed. R. Crim. P.

32.2(e).

     SO ORDERED this 8th day of March, 2010.




                                        /s/Susan Webber Wright
                                        UNITED STATES DISTRICT JUDGE




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